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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION

 UNITED STATES OF AMERICA, FOR THE
 USE OF BONITZ, INC. F/K/A BONITZ
 FLOORING GROUP, INC.,                                         Civil Case No.: 2:23-cv-4088-BHH


                        Plaintiff,
 vs.
                                                                     COMPLAINT
   GCB    JV1, LLC,  THE   HANOVER
   INSURANCE COMPANY, AND HARTFORD
   FIRE INSURANCE COMPANY,

                        Defendants.

         Plaintiff, United States of America, for the use of Bonitz, Inc. f/k/a Bonitz Flooring Group,

Inc. (“Plaintiff” or “Bonitz”), by and through its undersigned counsel, complaining of Defendants

GCB JV1, LLC (“GCB”), The Hanover Insurance Company (“Hanover”), and Hartford Fire

Insurance Company (“Hartford”) (collectively referred to as “Defendants”), alleges and says:

                                     PARTIES AND JURISDICTION

         1.        Bonitz Flooring Group, Inc. is incorporated in South Carolina. Bonitz Flooring

Group, Inc. merged with Bonitz, Inc. in 2018. Bontiz, Inc. is incorporated in South Carolina with

its principal place of business in North Carolina.

         2.        Defendant GCB is a limited liability company organized and existing under the

laws of Florida with a principal address of 6706 N. 9th Avenue, Suite C-6, Pensacola, Florida

32504.

         3.        Defendant Hanover is a corporation organized and existing under the laws of the

state of New Hampshire with a principal place of business at 440 Lincoln Street, Worcester,

Massachusetts 01653.




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         4.        Defendant Hartford is a corporation organized and existing under the laws of the

state of Connecticut with a principal place of business at One Hartford Plaza, Hartford,

Connecticut 06155.

         5.        GCB was involved as contractor, and Hanover and Hartford as sureties, for the

construction, alteration, or repair of a public building or public work located at the Charleston Air

Force Base and more specifically described as High Altitude Airdrop Mission Center, Contract No.

N69450-20-F-0877, Project No. 0920-0877 (“Project”).

         6.        At all relevant times, GCB served as the general contractor on the Project.

         7.        At all relevant times, Hanover and Hartford were authorized to issue payment bonds

on construction projects in South Carolina.

         8.        At all relevant times, Hanover and Hartford were licensed sureties for GCB, issuing

performance and payment bonds for the benefit of the Project pursuant to 40 U.S.C. § 3131 et seq.

(“the Miller Act”).

         9.        This Court has personal jurisdiction over each Defendant because they each

knowingly assisted with the Project in Charleston County, South Carolina, and purposefully

availed themselves of the benefits and protections of the state of South Carolina.

         10.       This Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a) over the

breach of contract claim in Count II. The breach of contract claim derives from the same common

nucleus of operative fact as the Miller Act claim and forms part of the same case or controversy.

         11.       Venue is proper in the United States District Court for the District of South

Carolina, Charleston Division, pursuant to § 3133(b)(3)(B) of the Miller Act, because of the

Project’s location in Charleston County, South Carolina.




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                                     FACTUAL BACKGROUND

         12.       Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 11 above.

         13.       The United States, via the Naval Facilities Engineering Systems Command

Southeast (“Owner”), entered into a written contract with GCB, by which GCB agreed to serve as

the general contractor and perform construction services on the Project (“Prime Contract”).

         14.       In accordance with 40 U.S.C.A. § 3131, GCB, as principal, and Hanover and

Hartford, as surety, executed an enforceable agreement in which GCB, Hanover and Hartford

bound themselves jointly and severally to make payment to all persons supplying labor and

material in the execution of the work provided for in the Prime Contract (“Payment Bond”).1 A

true and accurate copy of the Payment Bond is attached hereto and incorporate by reference into

Exhibit A.

         15.       Upon the execution of the Prime Contract and the Payment Bond, GCB commenced

work on the Project.

         16.       On or about June 29, 2021, GCB, as general contractor on the Project, entered into

a subcontract agreement with Bonitz (“Subcontract”) pursuant to which Bonitz agreed to furnish

all material, labor, equipment, and services necessary to complete installation of drywall, interior

framing, insulation installation, hollow metal door frame installation, and other work for the

Project.

         17.       Bonitz was a first-tier subcontractor of GCB, and the work performed by Bonitz

was required to be performed by GCB under its contract with Owner.

         18.       Bonitz furnished labor and materials for the Project under the Subcontract through

October 7, 2022.


1
    The Payment Bond bears Hanover Insurance Company Bond No. 104109 and Hartford Fire Insurance Company
    Bond No. 42BCSII1331.


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         19.       Bonitz invoiced GCB for the labor and materials furnished to the Project pursuant

to the Subcontract (“Subcontract Balance”).

         20.       GCB has failed to remit full payment of the Subcontract Balance to Bonitz, thereby

defaulting on the Subcontract.

         21.       As of the date of the filing of this Complaint, GCB is indebted to Bonitz in the

principal amount of $150,641.43, plus interest.

         22.       Bonitz has a direct contractual relationship with GCB through the Subcontract. As

such, Bonitz was not required to provide written notice of the amount claimed under 40 U.S.C. §

3131(b)(2).

         23.       More than ninety (90) days but less than one year has elapsed since Bonitz last

performed work or supplied materials in connection with the Project.

         24.       Upon information and belief, GCB has received payment from Owner for the work

Bonitz performed pursuant to the Subcontract. After receiving payment from Owner for the work

Bonitz performed on the Project, GCB failed to pay Bonitz for such work within seven days.

         25.       Bonitz has complied with all requirements and conditions precedent to seeking

recovery of the amounts owed to it.

                                              COUNT I
                                  (Breach of Contract Against GCB)

         26.       Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 15.

         27.       GCB, as a contractor on the Project, entered into the Subcontract with Bonitz under

which Bonitz furnished material, labor, equipment, and services. The scope of work included all

material, labor, equipment, and services necessary to complete the agreed-upon installation of

drywall, interior framing, insulation installation, hollow metal door frame installation, and other

work for the Project.



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         28.       After execution of the Subcontract, Bonitz furnished the material and labor

necessary to complete the agreed-upon installation of drywall, interior framing, insulation

installation, hollow metal door frame installation, and other requirements for the Project.

         29.       Bonitz fully performed Bonitz’s obligations under the Subcontract.

         30.       GCB breached the Subcontract by failing to pay Bonitz amounts due and owing

under the Subcontract.

         31.       As a result of GCB’s material breach of the Subcontract, Bonitz has suffered

principal damages in the amount of $150,641.43, plus interest, costs, and attorneys’ fees.

                                              COUNT II
                         (In the Alternative, Quantum Meruit against GCB)

         32.       Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 31.

         33.       Bonitz conferred upon GCB a benefit by furnished the material and labor necessary

to complete the agreed-upon installation of drywall, interior framing, insulation installation,

hollow metal door frame installation, and other requirements for the Project – requirements that

were the primary responsibility of GCB under the Prime Contract with Owner.

         34.       GCB realized the benefit conferred by Bonitz.

         35.       Bonitz did not furnish the labor, equipment, and materials gratuitously, and Bonitz

expected payment for such labor and materials from GCB.

         36.       GCB knew or should have known that Bonitz expected payment for the labor,

equipment, and materials.

         37.       Full payment for the labor, equipment, and materials supplied to GCB by Bonitz

has not been made




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         38.       Both GCB and Owner have accepted Bonitz’s work, and GCB has not notified

Bonitz that its work is deficient, defective, incorrect, or otherwise non-conforming. Therefore, it

would be unjust for GCB to retain the benefit Bonitz conferred without paying its value.

         39.       Bonitz is entitled, in the alternative to its claim for Breach of Contract against GCB,

to an award of $150,641.43, plus interest at the highest rate allowed by law.

                                          COUNT III
                       (Payment Bond Claim Against Hanover and Hartford)

         40.       Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 39.

         41.       Prior to beginning work on the Project, GCB (as principal) and Hanover and

Hartford (as sureties) executed the Payment Bond wherein GCB, Hanover and Hartford bound

themselves, jointly and severally, to the United States of America in the penal sum of

$3,859,162.90.

         42.       Bonitz furnished labor and materials to the Project under the Subcontract through

October 7, 2022.

         43.       The Payment Bond covers the labor, materials, equipment, and services that Bonitz

provided pursuant to the Subcontract.

         44.       Bonitz is an intended beneficiary of the Payment Bond.

         45.       Upon information and belief, GCB has received payment from Owner for the

Subcontract Balance.

         46.       GCB refuses to remit full payment of the Subcontract Balance to Bonitz, thereby

defaulting on the Subcontract.

         47.       Both GCB and Owner have accepted the work that Bonitz provided pursuant to the

Subcontract.




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         48.       GCB has failed to remit payment to Bonitz for its work pursuant to the terms of the

Subcontract and 31 U.S.C. § 3905.

         49.       GCB has not rejected any of Bonitz’s work, nor has GCB notified Bonitz that its

work is deficient, defective, incorrect, or otherwise non-conforming.

         50.       Bonitz has complied with all requirements and conditions precedent to seeking

recovery of the amounts owed to it.

         51.       As of the date of the filing of this Complaint, the Subcontract Balance due for the

labor, materials, and services Bonitz furnished to the Project is the principal amount of

$150,641.43, plus interest.

         52.       Bonitz is entitled to recover under the Payment Bond from GCB, Hanover and

Hartford, jointly and severally, the principal sum of $150,641.43, plus interest, attorneys’ fees, and

costs as allowed by law.

                       MOTION TO STAY ACTION PENDING ARBITRATION

         53.       Plaintiff re-alleges and incorporates by reference Paragraphs 1 through 52.

         54.       Under the Subcontract, GCB and Bonitz agree to a dispute resolution procedure.

         55.       Paragraph 11 of the Subcontract delineates the agreed-upon dispute resolution

procedure between the Bonitz and GCB.

         56.       In the event of a dispute, Bonitz and GCB must first attempt to negotiate a

resolution. If negotiations are unsuccessful, Bonitz and GCB agreed to enter into a binding

Arbitration governed by the American Arbitration Association (“AAA”) Commercial and/or

Construction Arbitration Rules.

         57.       The arbitration provision of the Subcontract is binding pursuant to the Federal

Arbitration Act housed in 9 U.S.C. § 1, et seq.




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         58.       A dispute between GCB and Bonitz has arisen out of and relate to the Subcontract

and is, therefore, subject to negotiation and arbitration. The parties have negotiated to no avail and,

in accordance with the terms of the Subcontract, Bonitz intends to file a Demand for Arbitration

with the AAA.

         59.       Bonitz hereby moves for an Order, pursuant to, inter alia, 9 U.S.C. § 3, allowing

the litigation to be stayed while the GCB and Bonitz engage in arbitration.

                                        PRAYER FOR RELIEF

         WHEREFORE, the United States of America, for the use of Bonitz, respectfully asks the

Court:

         1.        That Bonitz have and recover judgment against GCB for breach of the Subcontract

in the principal amount of $150,641.43, plus interest thereon at the highest legal rate allowed by

law;

         2.        That Bonitz have and recover judgment against GCB under its claim for quantum

meruit in the principal amount of $150,641.43, plus interest thereon at the highest legal rate

allowed by law;

         3.        That Bonitz have and recover judgment under the Payment Bond against GCB,

Hanover and Hartford, jointly and severally, in the principal amount of $150,641.43, plus interest

determined consistent with the terms of § 3905(b)(2) and the rates published in the Federal

Register, attorneys’ fees, and costs as allowed by law;

         4.        That the Court enter an Order staying this action pending arbitration in accordance

with the Subcontract and Federal Arbitration Act;

         5.        That the Court tax the costs of this action against Defendants;

         6.        That Bonitz recover its attorneys’ fees as allowed by law; and




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         7.        That Bonitz have and recover such other and further relief as the Court may deem

just and proper.



                                [Signature Block on Following Page]

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      August 14, 2023                               STATES OF AMERICA, FOR THE USE OF
                                                    BONITZ, INC. F/K/A BONITZ FLOORING
                                                    GROUP, INC.




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